           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       1:17 CR 460-01



UNITED STATES OF AMERICA

                                           Defendant’s Motion to Extend
v.                                           Time to Report for Active
                                                     Sentence

PAULA K. BULLOCK




      COMES NOW Paula K. Bullock, Defendant in the above-captioned

case, and requests an extension of the current deadline for her to report to

federal authorities to begin serving the active portion of her sentence. In

support of this request, Ms. Bullock states the following:

1)    On August 1st, 2019, pursuant to her plea of guilty to one count of

18 U.S.C. § 1029(a)(2) (unauthorized use of an access device) and one count of

18 U.S.C. § 1001(a)(3) (false statement), Ms. Bullock was sentenced to a

four (4) month period of active incarceration.

2)    At that time, the Court ordered Ms. Bullock to voluntarily surrender to

federal marshals in Greensboro, North Carolina on September 16th, 2019.




        Case 1:17-cr-00460-LCB Document 70 Filed 09/05/19 Page 1 of 4
3)    As of this filing, the Bureau of Prisons has not received the

administrative files necessary to designate a facility at which Ms. Bullock

will serve her sentence.

4)    Absent such designation, it is unclear where Ms. Bullock will be

incarcerated and it is likely that the government will incur higher expenses

due to any such incarceration.

5)    In addition, there is a substantial possibility that such incarceration

will not meet the care and treatment standards of the Bureau of Prisons.

6)    Ms. Bullock has been on unsupervised release for nearly two years

pending final disposition of the charges against her.

7)    Ms. Bullock has appeared at all court hearings.

8)    Ms. Bullock is not a flight risk. She has substantial family ties,

including custody of her son.




                                       2


        Case 1:17-cr-00460-LCB Document 70 Filed 09/05/19 Page 2 of 4
       WHEREFORE, Ms. Bullock requests that:



1) That the Court delay Ms. Bullock’s report date for thirty (30) days, until

October 16th, 2019, in order to allow the Bureau of Prisons to designate a

facility for her active sentence.



      This is the 5th day of September, 2019.



                                           Respectfully submitted,



                                           //Paul M. Dubbeling//
                                           Paul M. Dubbeling
                                           210 North Columbia Street
                                           Chapel Hill, North Carolina 27514
                                           (919) 260-1615 (office)
                                           paul.dubbeling@gmail.com
                                           N.C. Bar #: 47014




                                       3


        Case 1:17-cr-00460-LCB Document 70 Filed 09/05/19 Page 3 of 4
                            Certificate of Service

       This is to certify that the undersigned has this date electronically filed
the foregoing Defendant’s Motion to Extend Time to Report for Active
Sentence with the Clerk of Court using the Court’s CM/ECF System, which
will send notice to the following:


Frank Joseph Chut, Jr.
U.S. Attorney’s Office
101 South Edgeworth Street, 4th Floor
Greensboro, NC 27401
336-332-6320
frank.chut@usdoj.gov

Kelley P. Kennedy Gates
U.S. Attorney’s Office
101 South Edgeworth Street, 4th Floor
Greensboro, NC 27401
336-332-6317
kennedy.gates@usdoj.gov


      This is the 5th day of September, 2019.




                                            /s/ Paul M. Dubbeling
                                            Paul M. Dubbeling
                                            210 North Columbia Street
                                            Chapel Hill, NC 27514
                                            (919) 260-1615 Telephone
                                            (919) 404-7074 Facsimile
                                            paul.dubbeling@gmail.com
                                            NC Bar # 47014




                                        4


        Case 1:17-cr-00460-LCB Document 70 Filed 09/05/19 Page 4 of 4
